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       In the United States Court of Federal Claims
                                         No. 16-840C
                                   (Filed: March 22, 2019)

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BITMANAGEMENT SOFTWARE                        *
GMBH,                                         *
                                              *
                      Plaintiff,              *
                                              *
               v.                             *
                                              *
THE UNITED STATES,                            *
                                              *
                      Defendant.              *
                                              *
************************************

                                          ORDER

       On February 27, 2019, Plaintiff, Bitmanagement Software GMBH
(“Bitmanagement”), filed a Motion In Limine to Exclude In Part the Testimony of
Defendant’s Expert Witness, David A. Kennedy. See ECF No. 53. On March 6, 2019,
Defendant, the United States (the “Government”), filed its timely response. See ECF No.
55. On March 11, 2019, Bitmanagement filed its timely reply. See ECF No. 59.

        A motion in limine is a “preliminary motion that serves a gatekeeping function
and permits the trial judge to eliminate from further consideration evidentiary
submissions that clearly would be inadmissible for any purpose.” PR Contrs., Inc. v.
United States, 69 Fed. Cl. 468, 469 (2006); see Baskett v. United States, 2 Cl. Ct. 115,
116 (1986) (“A motion in limine is a useful tool to prevent a party before trial from
encumbering the record with irrelevant, immaterial or cumulative matters.”). The bases
for excluding expert testimony are Rule 702 of the Federal Rules of Evidence, Daubert v.
Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Kumho Tire Co. v.
Carmichael, 526 U.S. 137 (1999).

        Rule 702 of the Federal Rules of Evidence permits a witness to testify as an
expert if:
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           [1] the expert’s scientific, technical, or other specialized knowledge
           will help the trier of fact to understand the evidence or to determine a
           fact in issue; [2] the testimony is based on sufficient facts or data; [3]
           the testimony is the product of reliable principles and methods; and
           [4] the expert has reliably applied the principles and methods to the
           facts of the case.

Fed. R. Evid. 702. The party proposing an expert witness bears the burden of
establishing certain admissibility requirements necessary to testify. Bourjaily v. United
States, 483 U.S. 171, 175–176 (1987). In addition, the U.S. Supreme Court in Daubert
obligates the trial judge to “ensure that any and all scientific testimony or evidence
admitted is not only relevant, but reliable.” Daubert v. Merrell Dow Pharm., Inc., 509
U.S. 579, 589 (1993). “Reliability,” in this sense, “entails a preliminary assessment of
whether the reasoning or methodology underlying the testimony is scientifically valid and
of whether that reasoning or methodology properly can be applied to the facts in issue.”
Id. at 592–93. The Daubert factors were applied to all expert testimony by Kumho Tire.
526 U.S. at 147–49.

      I.   BITMANAGEMENT’S POSITION REGARDING MR. KENNEDY’S
           TESTIMONY

       Bitmanagement argues that Mr. Kennedy’s testimony is unreliable because he
applied an incorrect legal standard in calculating Bitmanagment’s actual damages. See
ECF No. 53 at 6–9; ECF No. 59 at 2–7. Mr. Kennedy’s calculations are “based on the
number of copies allegedly used by the Navy rather than made by the Navy,” which,
according to Bitmanagement, rests on an incorrect interpretation of the word “use.” ECF
No. 53 at 6 (emphasis in original); ECF No. 59 at 1. In support, Bitmanagement relies
on: Wall Data Inc. v. Los Angeles Cty. Sheriff’s Dep’t, 447 F.3d 769 (9th Cir. 2006);
Thoroughbred Software Int’l, Inc. v. Dice Corp., 488 F.3d 352 (6th Cir. 2007); and
Gaylord v. United States, 678 F.3d 1339 (Fed. Cir. 2012). See ECF No. 53 at 7–9.

        In Wall Data, the Los Angeles County Sheriff’s Department purchased a specific
number of licenses to install specialized software onto a specific number of computers,
but instead installed the software on virtually every computer in its facility. 447 F.3d at
773–75. The Ninth Circuit upheld the jury’s damage award that was based on the
number of unauthorized copies made by the Sheriff’s Department. Id. at 786–87.

       In Thoroughbred Software, the defendant was in the business of renting out
computers to the public that were pre-installed with certain software, including
unauthorized copies of the plaintiff’s software. 488 F.3d at 355–58. The Sixth Circuit
reversed the district court’s finding that “there were no actual damages for the copies that
were unused and/or inaccessible to [defendant’s] customers,” and instead held the
defendant liable “for the unpaid license fees for all the unauthorized copies it made,
regardless of whether these copies were accessible to or used by [defendant’s]
customers.” Id. at 359–60.



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          In Gaylord, the U.S. Postal Service issued stamps featuring a photograph of the
plaintiff’s sculpture without first obtaining permission to depict the sculpture. 678 F.3d
1339, 1341. The Federal Circuit cited favorably to Thoroughbred in finding that “[w]hen
. . . the plaintiff cannot show ‘lost sales, lost opportunities to license, or diminution in the
value of the copyright,’ many circuits award actual damages based on ‘the fair market
value of a license covering the defendant’s use.’” Id. at 1343 (citing Thoroughbred, 488
F.3d at 359–60) (citations omitted). The Court then remanded for a determination of
appropriate license fees for the three categories of infringing goods at issue. Id. at 1344.

         Bitmanagment also distinguishes Deltak, Inc. v. Advanced Systems, Inc., where
the defendant produced 50 copies of a copyrighted marketing pamphlet, distributed 15 of
those copies to customers, and retained the remaining 35 in a warehouse. 767 F.2d 357,
359–60 (7th Cir. 1985); ECF No. 59, at 5–7. The Seventh Circuit held that “[t]he value
of the infringer’s use is a permissible basis for estimating actual damages.” Deltak, 767
F.2d at 360–61. The Court explained that “[t]he primary value of these marketing tools,
when in the hands of customers, was to increase sales . . . .” Id. at 361. Bitmanagement
argues that here, the value to the Navy was having the software available on every
computer in its network because it did not know in advance where it would be needed.
ECF No. 59, at 5–6. Therefore, according to Bitmanagement, the Navy’s “use” was
installing the software on its computers. See ECF No. 59, at 6–7.

        Bitmanagement also argues that Mr. Kennedy’s opinion that only 579 copies of
the software were actually used by the government is not based on sufficient facts or data
because no logs were retained showing the number of individuals that used the software
during the first third of the damages period. See ECF No. 53 at 9–11; ECF No. 59 at 8–
14. Because “any risk of uncertainty [must be placed] upon the wrongdoer rather than
upon the injured party,” Bitmanagement argues that Mr. Kennedy’s testimony must be
excluded. Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1572 (Fed. Cir. 1996).

         Bitmanagement further suggests Mr. Kennedy’s opinion rests on unreliable data
because he based his royalty on the “self-serving assumption” that Bitmanagement’s
software could not be used outside of the SPIDERS 3D environment, when in fact it
automatically became the default program for viewing any three-dimensional data file
after it was installed. See ECF No. 53 at 9–10; ECF No. 59 at 12–14.

     II.    THE GOVERNMENT’S POSITION

       The Government maintains Mr. Kennedy applied the correct standard and that
none of the cases cited by Bitmanagement support its position that compensation must be
based on the total number of technical infringements. ECF No. 55, at 5.

        With respect to Wall Data Inc. v. Los Angeles Cty. Sheriff’s Dep’t, 447 F.3d 769
(9th Cir. 2006), the government contends that “the Ninth Circuit upheld jury instructions
that were focused on ‘the actual use made by the Los Angeles Sheriff’s department of the
plaintiff’s work” and affirmed the award, even though ‘[i]t [was] not clear how the jury
calculated this award.’” ECF No. 55, at 5 (quoting Wall Data, 447 F.3d at 786–87).

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        The Government argues that Thoroughbred Software Int’l, Inc. v. Dice Corp, 488
F.3d 353 (6th Cir. 2007), is factually distinguishable because there, a different method
was used to copy the software and the “defendant’s conduct and business strongly
suggested that it benefited from the use of copies it characterized as ‘unused.’” ECF No.
55, at 5.

        The Government claims that Gaylord is distinguishable because the Court focused
on the different uses of the copyrighted work in relation to the three categories of goods
identified. ECF No. 55, at 6. The Government also maintains Gaylord is distinguishable
because, on remand, the parties agreed that “no damages would be awarded for stamps
used to send mail,” which was one category of infringing goods. ECF No. 55, at 6
(quoting Gaylord v. United States, 777 F.3d 1363, 1356 (Fed. Cir. 2015) (“Gaylord III”).

        The Government contends that Deltak, Inc. v. Advanced Systems, Inc., 767 F.2d
357 (7th Cir. 1985), supports its position because the Seventh Circuit rejected the
plaintiff’s assertion that it was entitled to damages on all 50 copies of the pamphlets,
despite the fact that only 15 copies were actually distributed to customers. ECF No. 55,
at 7; Deltak, 767 F.2d at 360–61. There, the Court explained, “we see no reason that
damages calculated on the value of use method should vary with the number of copies the
infringer produced, at least where that number differs from the number of copies used by
the infringer.” Deltak, 767 F.2d at 360–61.

        The Government also argues that the data Mr. Kennedy relied on is reliable
because: (1) Bitmanagement did not file a motion in limine to exclude the data; (2) both
parties rely on the data to support their respective proposed facts; and (3) “a
knowledgeable Government witness testified that the . . . data was reliable.” ECF No. 55,
at 8.

      Furthermore, the Government argues that there is no evidence that the Navy used
Bitmanagement’s software outside the Navy’s SPIDERS 3D platform. ECF No. 55, at 9.

    III.   CONCLUSION

        Mr. Kennedy relied on an incorrect legal standard in his “actual damages”
calculations. Of the cases discussed above, Gaylord is the most important, because it is
the only one dealing with a copyright case, and it is controlling for this Court. In that
case, the Federal Circuit stated: “We conclude that the methods used to determine ‘actual
damages’ under the copyright damages statute, 17 U.S.C. § 504, are appropriate for
measuring the copyright owner’s loss.” Gaylord v. United States, 678 F.3d 1339, 1343
(Fed. Cir. 2012). Section 504 states (in relevant part): “The copyright owner is entitled to
recover the actual damages suffered by him or her as a result of the infringement.” 17
U.S.C. § 504. The infringement referred to in the submissions regarding this motion is
copying. Therefore, the starting point for the damages calculation is the damage caused
to the copyright owner by the government in making the unauthorized copies. Therefore,
the number of unauthorized copies must be determined. Once this figure has been

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determined, then the inquiry becomes what is “the fair market value of a license covering
the defendant’s use”—the use in this case being the number of unauthorized copies made
by the government. See Gaylord, 678 F.3d at 1343.

         It is important not to confuse an infringement of copyright case with an
infringement of patent case. The former sets out as acts of infringement: copying,
preparation of derivative works, public distribution, public display, and public
performance. See 17 U.S.C. § 106 (exclusive rights in copyrighted works); 17 U.S.C. §
501(a) (“Anyone who violates any of the exclusive rights of the copyright owner as
provided by [section] 106 . . . is an infringer of the copyright or right of the author”). The
latter speaks of “use” of the patented invention. See 35 U.S.C. § 271(a) (“whoever
without authority makes, uses, offers to sell, or sells any patented invention . . . infringes
the patent.”) (emphasis added).

        Finally, the Court finds of no moment the fact that in Gaylord, on remand, the
parties agreed to damages for stamps used to send mail. What is significant is that the
Federal Circuit remanded the case to the Court of Federal Claims with the instructions to
consider this use in its new damages calculation. Gaylord, 678 F.3d at 1344.

        Because the Court finds that Mr. Kennedy’s testimony is unreliable because his
calculations were based on an incorrect legal standard, there is no need to separately
address whether Mr. Kennedy also utilized unreliable data.

       For these reasons, the Court hereby GRANTS Plaintiff’s Motion in Limine.

       IT IS SO ORDERED.

                                                              s/ Edward J. Damich
                                                              EDWARD J. DAMICH
                                                              Senior Judge




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